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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,
                                                                         11                                                              No. CR 14-0175 WHA
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.
                                                                         13                                                              ORDER RE JULY 26 REPORT
                                                                              PACIFIC GAS AND ELECTRIC                                   AND SETTING HEARING
                                                                         14   COMPANY,

                                                                         15                  Defendant.
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                                                                         17          By SEPTEMBER 3 AT NOON, PG&E shall respond to the Monitor’s letter report to the

                                                                         18   Court dated July 26, 2019. A hearing on the matter will be held SEPTEMBER 17 AT 9 A.M. If

                                                                         19   the report has not already been provided to PG&E, then it shall be provided to PG&E

                                                                         20   immediately by the Monitor. Given the public interest in the subject, the Monitor shall

                                                                         21   promptly file a copy on the public docket as well.

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                                                                         23   Dated: August 12, 2019.
                                                                                                                                      WILLIAM ALSUP
                                                                         24                                                           UNITED STATES DISTRICT JUDGE

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